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United States District Court
Southern District of Iowa

United States of America

VS. Case Number: 1:22-cr-00005-RGE-HCA-1

Kuachua Brillion Xiong

NOTICE REGARDING ENTRY OF A PLEA OF GUILTY

In the event the Defendant decides at any time before trial to enter a plea of guilty,
a United States Magistrate Judge is authorized by L. Cr. R. 11, with the consent of the
Defendant and the United States of America to conduct the proceedings required by
Rule 11, Fed. R. Crim. P. incident to the plea. If, after conducting such proceedings, the
United States Magistrate Judge recommends that the plea of guilty be accepted, a pre-
sentence investigation and report will ordered pursuant to Rule 32, Fed. R. Crim. P. The
assigned United States District Judge will then act on the United States Magistrate
Judge’s Report and Recommendation, and, if the plea of guilty is accepted, will
adjudicate guilt, and the District Judge will decide whether to accept or reject any
associated plea agreement, and will determine and impose sentence.

CONSENT

I hereby declare my intention to enter a plea of guilty in the above case, and I
consent to a United States Magistrate Judge conducting the proceedings required by
Rule 11, Fed. R. Crim. P., incident to the plea. I understand that if my plea of guilty is
then accepted by the District Judge, the District Judge will decide whether to accept or
reject any plea agreement I may have with the United States, and will adjudicate guilt and
impose sentence.

Wn all Paog ae

Defendant = () Date
SEAS LE f- PF -SPOaD
Defendant’s Attorney Date

On behalf of the United States of America, I hereby request and consent to a
United States Magistrate Judge conducting the proceedings required by Rule 11, Fed. R.
Crim. P., incident to the above-listed Defendant entering a plea of guilty. It is understood
that if the Defendant’s plea of guilty is then accepted by the District Judge, the District
Judge will decide whether to accept or reject any plea agreement that may have been
entered into, and will adjudicate guilt and impose sentence thereafter.

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By: oN S, _—_—_—_— Date: )- 24. bY

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